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 STATE OF INDIANA                 )                         VIGO                      COURT
                                  )SS:
 COUNTY OF VIGO                   )                         CAUSE NO. 8 4 0 0 3 - 1 7 0 3 - PL.      2 Ay 8



 STAPLES THE OFFICE SUPERSTORE                      )
 EAST, INC.                                         )

           Plaintiff,                               )
                                                                            VIGO COUNTY SUPERIOR COURT
                                                    )
 vs.                                                )
                                                    )                                 m 3 1 2017
 ZURICH AMERICAN INSURANCE                          )
 COMPANY and JAMES B. BOGARD,                       )
                                                                                  I
                                                    )
           Defendants.                              )


                         COMPLAINT FOR DECLARATORY JUDGMENT


           Plaintiff, Staples the Office Superstore East, Inc. ("Staples"), by counsel, Scott A.

 Weathers and Kopka Pinkus Dolin PC, for its Complaint for Declaratory Judgment, states as

 follows:

                                         Count I - Duty to Defend


           1.       Staples is a Delaware corporation doing business in the State of Indiana and


 having its principal place of business in Massachusetts.


           2.       Defendant,   Zurich American Insurance         Company ("Zurich"),    is   a foreign

  insurance company doing business in the State of Indiana.


           3.       Defendant, James B. Bogard, is a citizen of Indiana and the personal injury


  plaintiff in an underlying tort suit pending in the Vigo Superior Court under cause no. 84D06-


  1408-CT-6424. Mr. Bogard is a necessary party to this declaratory judgment action because the


  insurance issues affect his injury claim.




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         4.         Mr. Bogard alleges that on May 8, 2014, he was injured unloading a truck packed


with Staples goods.         The truck was operated by Mr. Bogard's employer, NFI Interactive


Logistics, LLC ("NFI"). A copy of Bogard's Complaint is attached as Exhibit "A".

         5.         On or about May 12, 2011, Staples and NFI entered into a Dedicated Agreement

for Transportation Services (the "Agreement"), pursuant to which NFI agreed to furnish

 transportation services. A true and accurate copy of the Agreement is attached as Exhibit "B".

         6.         The Agreement was in full force and effect on the date of the occurrence, May 8,


 2014.


         7.         Pursuant to the Agreement, NFI agreed to procure insurance naming Staples, Inc.

 as an additional insured on various types of insurance including general liability for bodily injury

 on a primary and non-contributory basis. (Ex. "B", pp. 6-7, para. 14).


          8.        NFI procured general liability insurance through Zurich.          A copy of the


 Certificate of Liability Insurance is attached as Exhibit "C".

          9.         Staples the Office Superstore East, Inc. is a corporation affiliated with Staples,

 Inc.


          10.        The Certificate of Insurance states, "STAPLES, Inc., and its subsidiaries and

 affiliates are included as an Additional Insured on the Automobile and General Liability policies,

 where required by written contract or agreement." (Ex. "C").

              11.    Bogard's claims are, at least in part, the result of acts or omissions of NFI (the

 Named Insured on the Zurich policy) since Paragraph 7 of the Agreement imposes a duty of

  "load security" on NFL (Ex. "B", p. 4, para. 7).


              12.    Staples, through its agent, sent correspondence to Zurich, placing Zurich on notice

  of the claim.




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        13.     Staples, by counsel, subsequently sent correspondence to Zurich and demanded


that Zurich accept its tender of defense and provide Staples with copies of Zurich policies. The

attached Exhibit "D" contains a May 17, 2016 tender of defense correspondence with an

 accompanying Certificate of Insurance and a file-stamped copy of the Answer (with Affirmative

 Defenses and Jury Demand) in the underlying injury action.

        14.     Despite the above request, Zurich has never provided Staples with the insurance

 policies on which Staples is named as an Additional Insured (policy no. GLO913955607 with

 effective dates of October 1, 2013 to October 1, 2014).


         15.     On January 25, 2017, Staples' agent sent correspondence to Zurich reiterating the


 tender of defense. ("Exhibit "E").


         16.     To date, Zurich has refused to defend and indemnify Staples.

         17.     Due to Zurich's refusal to defend Staples in this action, Staples has incurred costs

 and attorneys' fees to appear and defend Staples in this action, and will continue to incur such

 costs in the future.


         18.     Zurich's refusal to defend and indemnify Staples in this matter is a breach of the


 insurance policy.


         19.     Staples requests that the Court determine Staples' rights concerning the duties

 owed by Zurich, pursuant to the insurance policy.


         20.     A determination of this obligation will save time, costs, and attorneys' fees.

         21.     An actual and justiciable controversy exists between Staples and Zurich regarding


 Zurich's obligations to Staples in connection with the claims asserted in Bogard's Complaint.

         22.     Under the circumstances alleged, a judicial determination of the rights and


  obligations of the parties under the insurance policy referenced above is necessary at this time in




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order to terminate any uncertainty with regard to the issues of coverage and defense described

above.



         WHEREFORE, Plaintiff, Staples the Office Superstore East, Inc., seeks a judicial

determination and declaration of Zurich's obligations pursuant to the insurance policy, and

respectfully requests that this honorable Court order Zurich to defend Staples with respect to

expenses incurred during the investigation, defense, and litigation of Bogard's action, to

reimburse Staples for those expenses already incurred in the during the investigation, defense,

 and litigation of Bogard's action, and for all other relief that is just and proper in the premises.



                                    Count II - Duty to Indemnify


         1-22. Plaintiff realleges and adopts Paragraphs 1 through 22 of Count I, as and for


 Paragraphs 1 through 22 of Count II, as though fully set forth herein.

         23.   Pursuant to the terms of its insurance policy, Zurich has an obligation to indemnify


 Staples in regard to the aforesaid Bogard litigation.

         24.   Should Bogard be awarded damages from Staples, such damages should be paid by


 Zurich pursuant to the insurance policy.



          WHEREFORE, Plaintiff, Staples the Office Superstore East, Inc., seeks a judicial


 determination and declaration of Zurich's obligations pursuant to the insurance policy, and


 respectfully requests that this honorable Court order Zurich to indemnify Staples for all liability

  in regard to Bogard's action, and for all other relief that is just and proper in the premises.




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                                      Respectfully submitted,


                                      KOPKA PINKUS DOLIN PC



                                              Wa               r
                                      Randall W. Graff, #22651-45
                                      Attorney for Plaintiff, Staples, Inc.




 Randall W. Graff
 KOPKA PINKUS DOLIN PC
 550 Congressional Blvd., Suite 310
 Carmel, IN 46032
 Tel:   (317)818-1360
 Fax:   (317)818-1390
 saweathers@kookalaw.com




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                                          STATE OF iNDIANA                              [*>
                                      VIGO SUPERIOR COURT
                                                                          VIGO SUPERIOR COURT
      JAMES B. BOGARD
                                                                               AUG 1 3 2014
             Plaintiff,

                                                                              \aj-              a
             vs.                             CAUSE NO.:     .
                                                                                     CLERK

      STAPLES THE OFFICE              •
      SUPERSTORE EAST, INC.,                                -.(Vf - 6 4 2 4

             Defendant.


                                             COMPLAINT

             Comes now Plaintiff, James B. Bogard, by counsel,. and for his statement
      of claim against Defendant says: ...

        .   1 . On May 8, 2014, Plaintiff was employed as an over the road
      commercial truck driver and had received a truck load of goods from Defendant's
      Staples Distribution Center in Terre Haute, Vigo County, Indiana.


              2. On May 8, 2014, agents, servants or employees of Defendant
       negligently and carelessly loaded an individual carton and tote on top of a
       properly packaged and secured pallet of Staples goods.

              3. On May 8, 2014, the negligently loaded carton and tote fell from atop
       the pallet striking Plaintiff on the head and shoulders causing Plaintiff to be hurt,
       injured and impaired all to his detriment and damage.


               4. That Defendant loaded said carton and tote with callous and utter
       indifference to PJaintiffs health a;nd well being knowing or having reason to know
       that by doing so someone would likely be injured.                         .

            WHEREFORE, Plaintiff prays for judgment against Defendant in such an
       amount as will fully and fairly compensate him for his injuries, losses and
       damages, prejudgment interest, punitive damages, and the costs of this action
       and all other proper relief.                             .


                                                  Respectfully^ubmitted




                                                 .KeitKLJoWSon #5010-84
                                                  JOHNSOhfLAW OFFICE
                                                  333 Walnut Street



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                                           Post Office Box 3453     .
                                          ;Terre Haute, IN 47803
                                          . 812-232-0909 Telephone
                                           812-234-4945 Facsimile
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        t"
             a •




                                            DEDICATED TRANSPORTATION AGREEMENT

                   THIS DEDICATED TRANSPORTATION AGREEMENT (the "Agreement") is made as of May 12,
                   2011 (the. "Effective Date'") between Staples, Inc. ("Staples") and NH INTERACTIVE LOGISTICS,
                   LLC ("Carrier").

                   WHEREAS, Carrier is a motor Carrier registered with the U.S. Department of Transportation (the
                   "DOT") and the Federal Motor Carrier Safety Administration (the "FMCSA"). as hereafter set forth, and
                   desires to furnish transportation services to Staples for the transportation of general commodities, by
                   motor vehicle, in interstate and intrastate commerce, and Staples desires to hire Carrier to perform such
                   service as described herein, all in accordance with the provisions of the Title 49, United Stales Code,
                   Section 14101(b);

                   WHEREAS, Staples desires 10 obtain such transportation and related services Rom Carrier on behalf of
                   itself, its units, divisions, subsidiaries and affiliates;

                   NOW, THEREFORE, for good and valuable consideration which is acknowledged hereby and the
                   Agreement's herein contained, the parties hereby agree as follows:

                   1.      TERM. The term of this Agreement shall commence on the Effective Date and shall continue
                   until the third (3rd) anniversary of the Effective Date (the "Term").           Thereafter, the Term shall
                   automatically be extended on a month-to-month basis,

                   2.     TENDER; LOADING OR UNLOADING OF GOODS. On and after the Effective Date, each
                   and every shipment of Goods tendered or caused to be tendered to Carrier shall be deemed to be a tender
                   to Carrier as a motor.contract carrier and shall be governed and construed in accordance with the laws of
                   the United States and the Commonwealth of Massachusetts, to the extent the latter are not inconsistent
                   with applicable federal laws, rules or regulations or as otherwise modified herein. The Services provided
                   herein are intended by the parties to be contract carriage as defined by said law. The parties intend and
                   agree that the contractual arrangement shall be continuous in nature until such time as this Agreement
                   terminates or is effectively terminated by one or both of die parties. If Carrier inadvertently uses a bill of
                   lading, the bill of lading shall constitute only the receipt contemplated herein. To the extent permitted by
                   law, the bill of lading shall have no contractual significance whatsoever other than with respect to the
                   following information; name of consignor, name of consignee, date, description of commodities, weight
                   or other description of shipment size, released value declaration (subject to the limitation contained in this
                   Agreement), acknowledgment of receipt and acknowledgment of delivery. No prc-printed term set out on
                   such bill of lading shall govern the transportation to be performed under this Agreement. Carrier shall
                   assist Staples at retail stores in unloading each shipment tendered and transported under this Agreement at
                   the charges contained in Schedule A attached hereto. Carrier shall have no lien and/or security interest
                   and hereby expressly waives its right to any lien and/or security interest in the Goods, Staples' Equipment
                   or other property of Staples or cargo Staples may transport for others by operation of law, judgment or
                   otherwise.


                   3,      SERVICE REQUIREMENTS. The service and performance requirements to be performed
                   under this Agreement are detailed in Exhibits 1 and 2 hereto. Staples reserves the right to alter the
                   Service Requirements (i.e., Network changes or return good process changes) based on changes in
                   Staples' business.

                   4,       M ANIFESTS. RECEIPTS AND BILLS OF LADING




W'
                                                                          1.
                                                                                                                              EXHIBIT
                                                                                                                                    //

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                       (a)      Each shipment shall be evidenced by a master manifest in the form specified by Staples,
               written or electronic, and shall be signed by Carrier or Carrier's agent or employee showing the kind and
               quantity of Goods received by Carrier at origin and intermediate points, if any. The absence or loss of
               any master manifest shall not relieve Carrier of its obligations and responsibilities with respect to any
               shipment Carrier shall indicate acceptance of each shipment and receipt of all seals tendered by Staples
               by legibly signing the original master manifest or a cargo receipt or bill of lading and indicating thereon
               the kind and quantity of Goods accepted by Carrier at the origin and all intermediate points, if any,
               designated by Staples. The signature of Carrier, its agents, employees or representatives, shall be
               evidence of and acknowledgment that the shipment is in die sole possession and responsibility of Carrier.
               Said signature shall also be evidence of and acknowledgment that the Goods are in good order and
               condition unless otherwise noted thereon, unless damage is not visible through ordinary visual inspection,
               or unless the shipment is accepted on die basis of Staples' load and count. The terms, conditions and
               provisions of any master manifest, receipt, bill of lading, or other form of shipping document shall be
               subject and subordinate to the terms and conditions in this Agreement and, in the event of a conflict, the
               terms, conditions and provisions of this Agreement shall govern.


                       (b>      Upon delivery of each shipment where a consignee representative is present, Carrier shall
               obtain a delivery receipt, in a form specified or approved by Staples, showing the kind, quantity and count
               of Goods delivered to the consignee of such shipment at the destination specified by Staples and the time
               of such delivery noting exceptions and/or damage to the Goods and Carrier shall cause such receipt to be
               signed by consignee or by such consignee's agent or employee at such destination, The consignee's
               signature on a delivery receipt shall be evidence and acknowledgment that the Goods' are received in
               apparent good order and condition unless otherwise noted on the delivery receipt. Carrier agrees to retain
               ail signed copies for two (2) years and shall make same available for Staples' inspection upon reasonable
               oral or written request.


\a;>
                        (c)     When Carrier receives a loaded frailer from Staples based upon Staples' load and count
               as set forth herein, and when Carrier makes delivery of the Goods loaded upon such a trailer, and Carrier
               or consignee notes any discrepancies in quantity or quality of the Goods as shown on the master manifest,
               the parties shall presume that such discrepancy or damage did not arise while the Goods were in Carrier's
               possession. Carrier shall reasonably and in good faith, cooperate with Staples in the investigation of any
               such loss or damage and Carrier will promptly notify Staples if Carrier is, or becomes, aware of any fact,
               which would reasonably indicate that any loss or damage occurred while the Goods were in Carrier's
               possession. Should investigation by Staples and Carrier reveal Carrier negligent or otherwise at fault,
               Carrier will be responsible for the loss and/or damage to Goods.

               5.      CARRIER PERSONNEL


                       (a)      Carrier shall, at no additional cost or expense to Staples, furnish alt oil, tires and other
               parts, supplies, licensing and equipment necessary or required for the safe, efficient and lawful operation
               and maintenance of the tractors, trailers and other motor vehicles and related equipment furnished by
               Carrier, and identified in Schedule A attached hereto, for the performance of its obligations hereunder
               (collectively referred to as the "Dedicated Fleet Equipment"). Carrier shall pay all expenses of every
               nature, including the expense of road service, washing, repair and taxes in connection with the use and
               operation of the Dedicated Fleet Equipment. Carrier shall, at no additional cost or expense to Staples, and
               at all times during the term of this Agreement, maintain the Dedicated Fleet Equipment in good repair,
               mechanical condition and appearance in order to assure minimum service interruption due to mechanical
               failure. Such Dedicated Fleet Equipment may be required to display "Staples" name as agreed by both
               parties, Staples agrees to bear the cost of decais and their attendant installation and removal only.




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                       (b)     In Ihc event Carrier places or leaves its Dedicated Fleet Equipment, empty or loaded,
               attended or unattended, at or on Staples' facilities, Carrier does so at its own risk except as expressly
               provided in this Section. Staples assumes no liability whatsoever for the safety of Carrier's Dedicated
               Fleet Equipment and/or its contents. In the event thai daipagc or destruction is caused to Carrier's
               Dedicated Fleet Equipment by Staples*'iMgHjjj&f' or intentionally wrongful acts or omissions, Staples
               shall be liable to Carrier only for the actual cost of repair of damage or actual replacement. Carrier shall
               give Staples prompt notice of any such loss or damage.

                      (c)       Carrier, at no additional cost or expense to Staples, shall employ only competent, able
               and legally licensed personnel in the operation of the Dedicated Fleet Equipment and shall provide said
               personnel with effective training and certification where appropriate under government regulations
               regarding the use and operation of all Dedicated Fleet Equipment, including, without limitation,
               Equipment used for loading and unloading, transportation and delivery.

                       (d)     Carrier shall take all reasonable action to prevent and enjoin all labor disputes, strikes and
               pickets arising out of Carrier's business or operations on or about or directed against the business,
               operations and/or premises of Staples and its customers.

                       (e)     If any Carrier personnel (including employees or permitted subcontractors) are on
               Staples' premises, Carrier shall cause such persons to comply with all of Staples' rules, regulations and
               policies regarding the workplace as well as applicable security procedures and fitness for duty
               requirements, including, without limitation, its policy on drugs and alcohol (collectively "Workplace
               Rules"). Staples may immediately remove any Carrier personnel from Staples' premises for security
           .   reasons or for noncompliance with Staples' Workplace Rules. Carrier agrees that any equipment or
               persona] property brought onto Staples' premises during any such visit shall be at Carrier's risk and
    ,)         Staples shall not be responsible for any loss or damage resulting to such equipment or personal property,
               except to the extent any loss or damage is caused by Staples' negligence or intentional acts, Staples may
               request the replacement of any Carrier personnel that Staples reasonably determines is not satisfactorily
               performing the services (including, without limitation, for reasons of interpersonal skills) and Carrier
               shall use commercially reasonable efforts to comply with such request.

               6,       INDEPENDENT CONTRACTOR. Each of the parties is an Independent contractor and shall
               not be considered to be an agent, distributor or representative of the other. Neither party shall act or
               represent itself, directly or by implication, as an agent of the other or in any manner assume or create any
               obligation on behalf of, or in the name of, the other. All personnel supplied or used by Carrier shall be
               deemed employees, agents or subcontractors of Carrier and shall not be considered employees, agents or
               subcontractors of Staples for any purpose whatsoever. Carrier shall assign only Carrier personnel or
               permitted subcontractors who are legally eligible to work in the location in which services arc to be
               performed by those personnel or permitted subcontractors. Carrier assumes full responsibility for the
               actions of all such personnel and permitted subcontractors while performing services under this
               Agreement and for the payment of their compensation (including, if applicable, withholding of income
               taxes and the payment and withholding of social security and other applicable taxes), workers'
               compensation, disability benefits and the like to the extent applicable. Carrier shall defend, indemnify
               and hold harmless Staples and its directors, officers, employees, agents and Affiliates against (i) ail
               liability and loss in connection with, and shall assume full responsibility for, payment of all federal, state
               and local taxes or contributions imposed or required under unemployment insurance, social security and
               income tax laws and all other laws applicable to Carrier or its employees or permitted subcontractors
               engaged in performance of this Agreement; or (ii) any claim, demand, suit or action alleging that any
               employee, contractor or representative of Carrier is an employee of Staples. Such indemnity shall be
               governed by the terms of Section 15 below.




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               7.       LOAD SECURITY, Carrier shall provide all necessary load securing devices including without
               limitation, Hack bars, pump bars load nets and load straps to secure Staples' shipments and will further re-
               secure all remaining product on multiple stop loads. Carrier will be responsible for replacement of any of
               these devices that are damaged, lost or stolen, except where Staples has caused or contributed to such
               damage, loss or theft Load seals, if airy, which Carrier is required to use under Staples' security policy
               after loading or unloading at intermediate stops, shall be. seals provided by Staples, and shall be affixed
               and broken by Staples or Staples' agents or representatives, to all points of potential entry into Equipment
               or Staples' Equipment, as applicable, at all of Staples' facilities. Such seals shall not be disturbed,
               removed or replaced without the prior approval of Staples, except for government customs or law
               enforcement inspection and with appropriate re-sealing.                '


               8.       CARRIER'S REPRESENTATIONS,

                       (a)       Carrier represents and warrants to Staples that; (i) it has been issued appropriate
               authority (certificate or permit) by the DOT and the FMCSA (or by its predecessor, the former Interstate
               Commerce Commission) to lawfully transport, as a motor contract carrier, the goods, products and
               materials ("Goods") specified in Exhibit X attached hereto in intrastate, interstate and foreign commerce
               from, to or between all points and places in the United States and to lawfully provide to Staples all of the
               transportation and related services provided for in accordance with the terms, provisions and conditions of
               this Agreement (the "Services"^, and that a true copy of such certificate or permit (the "Permit") is
               attached hereto; (ii) it is in foil compliance with all rules and regulations of the DOT and the FMCSA
               governing interstate motor carriers, and (iii) it has full power to enter into this Agreement, to carry out iLs
               obligations under this Agreement and it has the requisite skill, experience and resources to perform the
               services and that the services shall be performed in a professional and workmanlike manner exercising
               due skill and care consistent with industry standards and with applicable law.

                        (b)      Carrier agrees that it shall: (i) notify Staples immediately in the event of any suspension,
                cancellation, termination, withdrawal, modification or transfer of its Permit, or any portion thereof, or any
               threatened or pending action with respect to the Permit; and (ii) submit to Staples copies of the financial
               reports filed with the Surface Transportation Board or any successor agency pursuant to its regulations.
                Jn the event Carrier is not subject to said regulations, Carrier agrees to submit to Staples other evidence of
                its financial condition acceptable to Staples on a quarterly basis or periodically based on mutual consent.
                Carrier, at no additional cost to Staples, shall procure and maintain all licenses and permits for its
                Dedicated Elect Equipment required by local, state, federal or foreign authorities with respect to the
                Services and shall comply and cause its employees to comply with all applicable laws and regulations
                pertaining to die Services. Carrier shall insure that its drivers conduct any pre-trip inspections required by
                any applicable laws or regulations.

                         (c)     In the event that any shipment moves in intrastate commerce, Carrier shall comply with
                all applicable laws, rules and regulations governing such intrastate shipment, including, without
                limitation, laws respecting qualification and authority of Carrier to lawfully transport the Goods and to
                provide related Services. Upon request of Staples, Carrier shall furnish to Staples within five (5) days of
                such request, evidence of Carrier's legal authority to engage in such intrastate commerce. In the event a
                shipment moves in intrastate commerce, the terms, provisions and requirements of litis Agreement shall
                control and shall be given equaf tffect- and force as if such shipment moved in interstate commerce.

                9.       COMPENSATION,

                        (a)      As compensation for the Services, Staples shall pay Carrier in accordance with the rates,
                charges, rules and regulations specified in Schedule A attached hereto and incorporated by reference
                herein. Such rates shall not change during the Term of the Agreement; provided that if the assumptions
                or operational requirements contained in Schedule A materially change during the Term, Carrier reserves          i




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               the right to adjust rates and shall provide Staples with at least 60 days written notice of such proposed rate
               adjustments (a "Rate Adjustment Notice"!. Staples shall use commercially reasonable efforts notify
               Carrier in writing within 30 days of its receipt of a Rate Adjustment Notice whether it accepts or rejects
               such proposed rate adjustments. Carrier shall have the right to terminate this Agreement as provided in
               Section 20(d) below if Staples rejects Carrier's proposed rate adjustment.

                      (b)     Third party revenue generating "back haul" shipments shall be encouraged and permitted
               provided such shipments comply with the terms and conditions of this Agreement It is agreed that the
               parties shall share revenues from all back haul shipments as directed in Schedule A.

                        (c)     The parties agree that notwithstanding the existence of a lower common carriage tariff
               rate, under no circumstances shall the shipment be deemed to have moved under the Cairicr's common
               carrier authority, if any.

               10.       INVOICES. Carrier shall issue and provide to Staples a weekly invoice in accordance with the
               rates established herein with all appropriate detailed backup by 5:00 P.M. EST on Wednesday for
               Services performed during the prior week, regardless of holidays. Carrier will maintain 98% accuracy in
               its billing process and will submit 98% of its bills on a timely basis as required herein. Staples reserves
               tire right to initiate a "self-invoicing" process in the future. Any "self-invoicing" process must be
               approved in writing by Carrier. Such approval shall not be unreasonably withheld. Each of Carrier's
               invoices, if complete and correct, shall be paid not more than thirty (30) days from Staples' receipt of the
               invoice. Invoices shall include all Pro numbers and any other documentation required by Staples now or
               in the future, No additional charge, penalty or interest for late payment shall accrue. Adjustments for any
               invoice issues will be mutually agreed upon by both parties and rectified on the next scheduled invoice.
               Carrier and Staples will make every effort to resolve billing disputes within 30 days of the discovery of
               the dispute.
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               11.    SAFETY AND FINANCIAL CONDITIONS OF CARRIER. The parties recognize that safe,
               on time, dependable, damage-free and accident-free performance by Carrier is essential to Staples'
               business and operations. In the event Carrier receives an unsatisfactory safety rating from the DOT or the
               FMCSA, or in the event Carrier makes an assignment for the benefit of creditors, or file for protection
               under the bankruptcy laws, or if an involuntary petition in bankruptcy is filed against Carrier, Carrier shall
               immediately notify Staples in writing. During the Term, Carrier shall have and maintain a "Satisfactory"
               safety rating and shall notify Staples immediately upon receipt of any rating other than "Satisfactory",

               n.       CARGO LIABILITY.

                        (a)     Except as otherwise stated herein, Carrier shall be liable to Staples for the full amount of
               all loss, damage or injury occurring to or resulting from freight transported under this Agreement while in
               the possession or under the control of Carrier or its agents or employees as provided below.


                       (b)     For shipments not moving under seal, Carrier will be fully liable for all carton counts
               (shortages) and cargo integrity.

                      (c)    For shipments moving under seal, with the original bill of lading marked "Shipper Load
               and Count" ("SL&C") and with the seal number noted on the bill of lading, Carrier will be responsible for
               seal integrity only. The "SL&C" designation and seal number must appear on shipper's original bill of
               lading and Carrier's corresponding copy of the bill of lading.


                        (d)     The measure of damages and Carrier's liability on shipments moving to Staples'
               Distribution Centers and Fulfillment Centers will be the invoice price of the goods paid by Staples, plus




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                                                                                                                      [!




     inbound transportation costs, plus ten percent (10%). The ten percent (10%) damages will not apply,
     however, in the event of a total loss, where the restocking of goods at a Staples store or distribution center
     is not necessitated by the loss, in which case it will be five percent (5%).

              (e)      The measure of damages and Carrier's liability on shipments moving from Staples'
     Fulfillment Centers to Staples' Delivery Operations and customers shall be the retail (selling) price to
     Staples' customers, plus inbound transportation costs, plus ten percent (10%). The ten percent (10%)
     damages will not apply, however, in the event of a total loss, where the restocking of goods at a Staples
     store or distribution center is not necessitated by the loss, in which case it will be five percent (5%).

               (f)     The measure of damages and Carrier's liability on shipments lost or damaged while in
     transit from Staples' Distribution Centers to Staples' stores shall be the invoice price paid by Staples, plus
     inbound transportation costs, plus ten percent (10%). The ten percent (10%) damages will not apply,
     however, in the event of a total loss, where the restocking of goods at a Staples store or distribution center
     is not necessitated by the loss, in which case it will be five percent (5%).

             (g)     Irrespective of any provisions in Carrier's tariff, bill of lading, rules, classification or
     other service publication, Carrier's liability for loss or damage shall be determined solely by the terms of
     this Agreement, Any attempts to limit Carrier's liability by tariff or other provisions incorporated by
     reference in a bill of lading or shipping document which conflict with the terms of this Agreement shall
     be deemed null and void.


             (h)     Notwithstanding anything to the contrary, Carrier's liability for loss or damage to cargo
     shall not exceed $250,000 per occurrence.

              (i)     Damaged cargo which is salvageable may only be resold, disposed of or used by Carrier
     with the prior written consent of Staples; provided that damaged Staples' own brand (such as Staples
     Brand or Quill Brand) cargo may only be used by Carrier and may not be resold under any circumstances.
     Damaged cargo which is not salvageable may not be resold and must be destroyed. The expense of
     destruction will be borne by each party to the extent that the loss was attributable to its acts or omissions
     (or the acts or omissions of any party for which it is responsible). Carrier shall fully and forever release
     and discharge Staples and its subsidiaries and Affiliates of and from any and all claims arising from
                                                                                                           or
     relating in any way to such damaged cargo.

     13.    CLAIMS. Any claim made by Staples with respect to injury, loss or damage to the Goods must
     be made in writing within one hundred twenty (120) days after the date of shipment, setting out the details
     of the Goods in respect of which a claim is made Including but not limited to a description of the nature
                                                                                                               of
     the Goods, their cost to Staples, their weight and any other information that Carrier may reasonably
     require. Carrier shall be entitled to request, and if so requested, Staples shall provide to Carrier proof of
     cost of the Goods involved in any claim. Carrier shall pay, decline or offer a firm compromise settlement
     svith respect to each claim wilbin ninety (90) days after receipt of the claim by Carrier; provided that the
     claim shall be presumed to be accurate in the event that Carrier fails to respond within this ninety (90) day
     period.

     14.      INSURANCE. Prior to the start of any Services, Carrier shall at its own expense procure and
     maintain during the Term the minimum insurance set forth below covering Carrier (the "Required
     Insurance"). At the Effective Date, Carrier shall deliver to Staples certificates of insurance made out by
     the applicable insurers) or their authorized agents with respect to the Required Insurance and for any
     material policy amendments ("Insurance Certificates"). Carrier shall comply with all wanantics,
     declarations and conditions contained in each policy. Each policy shall provide for 30 days prior written
     notice to be given by the insurer to Staples if there is any termination, non-renewal or cancellation, or any




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                reasonable action to prevent and enjoin, all labor disputes, strikes and pickets brought by employees or
                subcontractors of Carrier1 and arising out of Carrier's business or operations on or about or directed
                against the business, operations and/or premises of Staples.


                        (b)      Staples Indemnity.    Staples shall defend at its own expense Carrier and its directors,
                officers, employees, agents and Affiliates from and against any and all third party claims, demands, suits
                or actions resulting from, arising out of or relating to Staples' (including its employees and anyone acting
                on its behalf) alleged or actual: (i) breach of this Agreement; (ii) property damage, injury and/or death to
                persons caused by (he hazardous or toxic nature of any Staples products transported by Carrier hereunder,
                (iii) failure to comply with or violation of any applicable laws, statutes, regulations, rules and ordinances;
                and (iv) injury and/or death to persons caused by defects or hazards on Staples' premises. (Any claim
                referenced in subsections (a) and (b) is referred to as an "Indemnifiable Claim").


                         (c)      Procedures. The party being indemnified (the "Indemnified Party") agrees to give the
                indemnifying party (the "Indemnifying Party") prompt written notice of any Indemnifiable Claim. Such
                notice shall not diminish the Indemnifying Party's indemnity obligations hereunder unless and only to the
                extent that the Indemnifying Party is materially and adversely affected by the Indemnified Party's failure
                or delay to give notice.   The Indemnifying Party shall control the defense or settlement of any
                Indemnifiable Claim.  The Indemnified Party shall reasonably cooperate (at the Indemnifying Party's
                expense) with the Indemnifying Party in the defense of such claim. Any settlement by the Indemnifying
                Party must be approved by the Indemnified Party, with such approval not to be unreasonably withheld
                (except that any settlement requiring the Indemnified Party to make any admission of liability shall be
                subject to the Indemnified Party's approval in its sole discretion). The Indemnified Party also has the
                right to retain its own counsel at its own expense in connection with such claim. If the Indemnifying
                Party has been advised by the written opinion of counsel to either party that lire use of the same counsel to
                represent both parties would present a conflict of interest, then the Indemnified Party may select its own
    W           counsel and all costs of the defense shall be bome by the Indemnifying Party. With respect to each
                Indemnifiable Claim, the Indemnifying Party shall indemnify and hold harmless the Indemnified Party
                from and against any and aJI damages, judgments, awards, expenses, and costs that are awarded and
                payable to the third party by a court of competent jurisdiction or that are payable pursuant to a settlement
                made by the Indemnifying Party.


                16.   LIMITATION OF LIABILITY. TO THE EXTENT PERMITTED BY APPLICABLE LAW,
                NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR ANY SPECIAL, INDIRECT,
                INCIDENTAL, CONSEQUENTIAL, MULTIPLE, OR PUNITIVE DAMAGES OF ANY KIND,
                INCLUDING, WITHOUT LIMITATION, LOST PROFITS, EVEN IF ADVISED OF THE
                POSSIBILITY THEREOF. THE FOREGOING LIMITATION OF LIABILITY SHALL NOT APPLY
                TO   AMOUNTS         PAYABLE        BY    A   PARTY       PURSUANT        TO    ITS   INDEMNIFICATION
                OBLIGATIONS HEREUNDER, BUT SHALL APPLY IN ALL OTHER INSTANCES REGARDLESS
                OF THE CAUSE OF ACTION UNDER WHICH SUCH DAMAGES ARE SOUGHT.


                17.      FORCE MAJEURE. Neither party shall be liable for any delays or other non-performance
                resulting from circumstances or causes beyond its reasonable control that are not due to the negligence or
                misconduct of the party claiming relief under this Section, including, without limitation, fire or other
                casualty, act of God, war, terrorism, or other violence, any law, order or requirement of any governmental
                agency or authority or other causes beyond the reasonable control of such party (a "Force Majeure"),
                provided that such party has informed the other party of such Force Majeure promptly upon the
                occurrence thereof (including a reasonable estimate of the additional time required for performance to the
                extent determinable) and such party uses reasonable commercial efforts to effect the required
                performance as soon as reasonably practicable. Any Force Majeure shall not excuse either party's




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            payment obligations hereunder (Including without limitation, Carrier's obligations under Section 7 (Cargo
            Liability)), or affect Staples' rights under Section 12 (Insurance).                             .

             18.     CONFIDENTIAL INFORMATION. In the course of their relationship, (he parties may
             disclose to each other written or electronically communicated or stored information under this Agreement
             which they deem confidential, including, without limitation, pricing and sales information and customer
             names and the contents of this Agreement ("Confidential Information"). Accordingly, the parties hereby
             agree as follows; (A) each party shall not disclose Confidential Information to any other person, firm or
             corporation (including, without limitation, affiliated corporations and separate business units) except as
             provided herein, and shall use the same degree of care to avoid publication or dissemination of such
             Confidential Information as they employ with respect to their own information which they do not desire
             to have published or disseminated, AH Confidential Information shall be retained by each party in a
             secure place with access limited to only such of its employees or agents (including consultants,
             accountants and attorneys) who need to know such information for purposes of this Agreement and each
             of the foregoing persons shall be informed of the existence and terms of this Section and each party
             hereby acknowledges and agrees that it shall be liable to the other for any breach by its employees or
             agents; and (B) each party shall not use any Confidential Information in connection with its own
           • marketing or product pricing or other internal purposes except to the extent necessary to fulfill its
             obligations under this Agreement; and (C) each party shall not solicit or market any product to any of the
             other party's customers based upon information provided to it by the other party (whether by customer
             list, customer registration or otherwise); and (D) at the conclusion of this relationship or upon demand by
             the other party, all Confidential Information, including marketing documents, other written notes,
             diagrams, memoranda, or notes taken by each party regarding Confidential Information, shall be at the
             request of the other party, destroyed. However, each party shall be allowed to retain one copy of all
              information for historic reference and all terms of confidentiality shall continue to apply to said file. The
              term "Confidential Information" shall not include, and each party shall have no obligation with respect to,
 i!           any information which: (i) is already known to it; or (ii) is or becomes publicly known Ihrough no
              wrongful act of it; or (iii) is rightfully received from a third party without restriction and without breach
              of this Agreement; or (iv) is independently developed by it; or (v) is approved for release by written
              authorization of the other party. The parties may disclose any Confidential Information received
              hereunder pursuant to any applicable law, regulation or court order, provided that such disclosure will be
              limited to the minimum acceptable level of disclosure and that the party required to disclose such
              information will Immediately notify the other parly of the imminent disclosure and reasonably cooperate
              to minimize or prevent such disclosure to the maximum extent allowed under applicable law, regulation
              or court order. Each party acknowledges that disclosure or improper use of the Confidential Information
             would cause the other party immediate and irreparable harm. Without limiting the following, each party
             agrees that the other party will be entitled to equitable relief in addition to any other remedies available to
             it.

                    NOTICES. Except as provided in the next paragraph, all notices or demands required or
             permitted pursuant to this Agreement shall be in writing, and shall be sent (a) by courier or in person with
             signed receipt, (b) by nationally recognized overnight delivery service, prepaid, with signature required or
             (c) by fax if promptly confirmed by copy sent pursuant to any of the foregoing methods, and in each case
             shall be sent to the other party at its address set forth on (he signature page below, or to such other
             addresses as either party may designate from time to time by notice to the other party in accordance with
             this Section. Notices shall be deemed received upon actual receipt or refusal of delivery. In the event of
             accident, theft, delay, storage or other problems impairing the safe and prompt delivery of (he freight,
              Carrier shall notify Staples.                          .

              20.     TERMINATION.




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                   21.     GENERAL TERMS.

                          (a)       Time of the Essence. Time is of the essence with respect to any services to be performed
                   hereunder.

                            (b)     Staples' Affiliates. The rights granted to Staples hereunder shall extend to all Staples'
                   Affiliates. The term "Affiliate" means any person or entity that now or hereafter directly, or indirectly
                   through one or more intermediaries, controls, or is controlled by, or is under common control with, a
                   party. The term "control" (including the terms "controlling", "controlled by" and "under common control
                   with") means the possession, direct or indirect, of the power to direct or cause the direction of the
                   management and policies of a person or entity, whether through the ownership of voting securities, by
                   contract or otherwise, in each case as such terms are interpreted under Rule 12b-2 of the Securities
                   Exchange Act of 1934, as amended.

                            (0      Assignment. This Agreement shall inure to the benefit of, and shall be binding upon, the
                   parties and their respective heirs, permitted successors and permitted assigns. Neither party shall assign
                   lliis Agreement or any rights hereunder or, except as expressly permitted in this Agreement, delegate any
                   obligations hereunder to any third party without the other party's prior written consent, which consent
                   shall not be unreasonably withheld, delayed or conditioned; provided that Staples may assign this
                   Agreement to any Affiliate, Any Change in Control of Carrier shall be deemed to be an assignment
                   hereunder, "Change in Control"- means: (i) any merger or consolidation of Carrier in which Carrier is not
                   the continuing or surviving corporation or pursuant to which its shares would be converted into cash,
                   securities or other property; (ii) any sale, lease, exchange or other transfer (in one transaction or a series
                   of related transactions) of all, or substantially all. Carrier's assets or more than 30% of its shares; (iii) the
                   liquidation or dissolution of Carrier; and/or (iv) a change in a majority of lite members of Carrier's board
                   of directors. Either party shall have the right in its discretion to terminate this Agreement immediately in
0                  addition to all other available remedies if there is any assignment or delegation in violation of the
                   foregoing,


                             (d)      Publicity. Carrier shall not advertise, market, disclose or otherwise make known to
                   others any information relating to any terms of this Agreement, the existence of this Agreement, or the
                   existence of a relationship with Staples, including mentioning or implying the name of Staples, or any of
                   its Affiliates or personnel, without the prior written consent of Staples, which may be withheld in Staples'
                   sole discretion. However, Carrier may disclose such information as may be expressly required under
                   applicable law without such consent from Staples; provided that Carrier promptly (prior to such
                   disclosure to the extent possible) notifies Staples in writing of any such disclosure required by law,
                   including any notices received by Carrier requiring such disclosure.


                           (e)      Gov&mine Law. This Agreement shall be construed in accordance with the laws of the
                   Commonwealth ofMassachusettsexcludlngits conflict of low provisions. The parties agree to sole venue
                   in the state or federal courts located in the Commonwealth of Massachusetts, and each party hereby
                   consents to the jurisdiction of such courts over itself in any action relating to this Agreement,

                            (f)     Severability. If any provision of this Agreement is found to be invalid or unenforceable
                   to any extent, then the invalid portion shall be deemed conformed to the minimum requirements of law to
                   the extent possible. In addition, all other provisions of this Agreement shall not be affected and shall
                   continue to be valid and enforceable to the fullest extent permitted by law.


                           (g)    Waiver. No waiver of any provision of this Agreement shall be valid unless in writing
                   signed by the party to be charged. No waiver with respect to any provision on one occasion shall be
                   deemed a waiver of such provision on any other occasion.



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                  .    (h)     Amendment. Any modification or amendment of this Agreement must be in writing and
               bear the signature of the duly authorized representatives of both parties (faxed signatures arc sufficient for
               purposes of this section, but electronic or digital signatures are not sufficient).

                       (i)     Entire Agreement: Interpretation. This Agreement, together with any document that the
               Agreement references as being attached hereto or incorporated herein by reference, sets forth the entire
               agreement and understanding between the parties with respect to die subject matter hereof, and
               supersedes any other agreements, discussions, proposals, representations or warranties, whether written or
               oral between the parties with respect to the subject matter hereof. Each party acknowledges that this
               Agreement has been the subject of active and complete negotiations, and that this Agreement should not
               be construed in favor of or against any party based on such party's or its advisors' participation in the
               preparation of this Agreement.


                        0)      Remedies. Except as expressly provided in this Agreement, a party's exercise of any
               right or remedy under this Agreement or under applicable law is not exclusive and shall not preclude such
               party from exercising any other right or remedy that may be available to it. If either party seeks monetary
               damages from the other party, and a final judgment is entered entirely in favor of the party defending the
               monetary damages claim, then the party who brought such monetary claim shall reimburse the defending
               party for its reasonable attorney's fees and costs paid defending that claim. Otherwise, each party shall
               bear its own fees and expenses unless otherwise provided by statute.

                        (k)     Third Party Beneficiaries. This Agreement is for the sole benefit of the parties and is not
               intended to, and shall not be construed to, create any right or confer any benefit on or against any third
               party, except as expressly provided in this Agreement. Notwithstanding the foregoing, Staples' Affiliates
               are third party beneficiaries of this Agreement.

#                       (1)     Effectiveness of Agreement. The preparation, revision or delivery of this document for
                examination and discussion is not an offer to enter into any agreement and is merely a part of the
                negotiations between the parties. Neither party shall have any obligation or liability to the other
                whatsoever at law or in equity (including, without limitation, any claims for detrimental reliance or
                promissory estoppel) relating to the subject matter hereof unless and until such time as both parties shall
                have executed and delivered this Agreement,

                        (m)      Counterparts: Signatures. This Agreement may be executed in separate counterparts,
                each of which shall be deemed an original, and all of which shall be deemed one and the same instrument.
                The parties' faxed signatures shall be effective to bind them to this Agreement,


                        (ft)    Audit. Carrier shall maintain at no additional cost to Staples, in a reasonably accessible
                location, all documentation for the services provided hereunder for seven (7) years or as required by law,
                if longer, which records may be inspected, audited and copied by Staples or its authorized representatives
                quarterly.


                         (o)     Ratification. Carrier and Staples are parties to that Staples Outbound Transportation
                Agreement effective as of March 1, 2000, as amended by Amendments dated as of October 6, 2006 and
                October 1, 2007 (as amended, the "Original Agreement"!. The parties agree and acknowledge that: (a)
                according to the terms and conditions of the Original Agreement, the term of the Original Agreement may
                have expired with respect to certain Staples locations on or after January 31, 2010, and that after such date
                the parties continued to do business according to the terms and conditions in the Original Agreement, and
                by their course of conduct effectively agreed to extend the term of the Original Agreement horn such date
                until the Effective Date (such period is referred to as the "Extended Term"): (b) die Original Agreement
                continued in full force and effect during the Extended Term; and (c) any and all actions or omissions of


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                       (a)     Termination for Breach. If either party fails to comply in any material respect with any
                covenant, agreement or condition herein, or repeatedly fails to comply in any nonmaterial respect with
                any covenants, agreements or conditions herein such that the cumulative effect of such noncompliance
                may be reasonably considered by the non-breaching party to be material, and such failure continues for
                thirty (30) days after written notification from the non-breaching party, the non-brcaching party may, at
                its sole discretion and in addition to any other right or remedy available under applicable law or in equity,
                terminate this Agreement upon an additional ten (10) days notice to the breaching party.

                        (b)      Termination for Insolvency.       If either party becomes insolvent, makes a general
                assignment for the benefit of creditors, files a voluntary petition of bankruptcy, suffers or permits the
                appointment of a receiver for its business or assets, or becomes subject to any proceeding under any
                bankruptcy or insolvency law, whether domestic or foreign, or is wound up or liquidated, voluntarily or
                otherwise then the other party may terminate this Agreement immediately.


                        (c)    Termination for Safety Issues or Authority Issues. Staples may immediately terminate
                this Agreement by written notice to Carrier if: (i) Carrier receives an unsatisfactory safety rating from the
                DOT or the FMCSA; or (ii) Carrier's Permit is suspended, cancelled, terminated, revoked or withdrawn.

                        (d)       Termination for Convenience. Staples may terminate this Agreement (or any Appendix
                D), for any reason or for no reason, upon 90 days prior written notice to Carrier, in which case Staples
                shall remit all fees and payments applicable to services performed prior to the date of termination. Carrier
                may terminate this Agreement for any reason or for no reason, upon 120 days prior written notice to
                Staples; provided that if Carrier terminates this Agreement because of Staples' rejection of Carrier's
                proposed rate adjustment by giving notice of such termination within 30 days following Staples' rejection
                of Carrier's proposed rate adjustment, Staples shall pay Carrier at the increased rates, which increase shall
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                not exceed four percent (4%) of the existing rales, during the 120 day notice period required for such
                termination. In (he event Staples declines to consent to any assignment of this Agreement by Carrier
                pursuant to Section 20(c) below. Staples may immediately terminate this Agreement. In addition, in the
                event that Staples closes a distribution or fulfillment center, Staples shall provide Carrier with as much
                notice as reasonably possible and may immediately terminate the Services provided by Carrier at that
                location.

                        (e)      Return of Materials. Upon termination or expiration of this Agreement, Carrier and
                Staples shall forthwith return to the other party all papers, materials, and other properties of such other
                party held by each for purposes of performance of this Agreement. In addition, each party will assist (he
                other party in orderly termination of this Agreement as may be necessary for the orderly, non-disrupted
                business continuation of each party.


                        (0       Responsibility for Cover Services. Upon any termination of this Agreement by Staples
                pursuant to subsections 1 8(a) and (b), Staples shall have the option of seeking replacement Services from
                an alternate carrier ("Cover Services"!, and Carrier shall promptly reimburse Staples for any additional
                costs incurred as a result of Staples' purchase of Cover Services, provided that Staples uses commercially
                reasonable efforts to mitigate such costs.


                        (g)      Survival. The following Sections shall survive any expiration or termination of this
                Agreement: Section 4 (Manifests, Receipts and Bills of Lading); Section 8 (Carrier's Representations);
                Section 5 (Carrier Personnel); Section 6 (Independent Contractor); Section 12 (Cargo Liability); Section
                13 (Claims); Section 14 (Insurance); Section IS (Indemnification); Section 16 (Limitation of Liability);
                                                                                                                                I
                Section 17 (Force Majeure); Section 18 (Confidential Information); Section 19 (Notices); Section 20
                (Termination); and Section 21 (General Terms).




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          either party taken during the Extended Term were governed by the terms and conditions in the Original
          Agreement. This Agreement replaces the Original Agreement in its entirety and upon the complete
          execution of this Agreement, the Original Agreement is terminated.

                   IN "VVITNESS WHEREOF, the parties hereto have caused this Agreement to be executed in
          their respective names by their duly authorized representatives as of the Effective Date.

          NFI InteractiveLogisticS, LLC                       Staples, Inc.




          By:                                                 By: ,                                   i)u
          Name: J'oVZfth Jflop-                >-             Narm: flosofAi Doody
          Title:     Prc^^Je.nt-            ~                 TitleUPiesidentNAD

          Notice address:                                     Notice address:

                   /•£ /6            m>(/ HcL                 Staples, Inc.
                Cherry /////, ,Qgr $$063                      500 Staples Drive                                    <
                                                              Framingham, MA 01702                         oyM s   ,
                                                               Attn: VP Inbound Logistics
                                                                                                       •    DATE
                                                              Fax; 508-253-8662
                                                              with a copy to: Genera! Counsel
                                                              (ref: NFI Interactive Logistics, LLC)



          Exhibits and Schedules:


          Exhibit 1                 Services
          Exhibit 2                 Performance Standards
          Schedule A                Rates and Operating Parameters




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   ACORD.                                 CERTIFICATE OF LIABILITY INSURANCE                                                                                           6/26/2014
                                                                                          THE CERTIFICATE HOLDER. THIS
   THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON
                                                                                            AFFORDED BY THE POLICIES
   CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE
                            OF INSURANCE  DOES  NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  jBELOW. THIS CERTIFICATE
   Representative or producer, and the certificate holder.
                                                                                                                    IS WAIVED, subject to
    IMPORTANT: If the certificate holder Is an ADDITIONAL INSURED, the pollcy(ies) must be endorsed. If SUBROGATION
                                                                                                                                  Confer rights to the
    the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not
    certificate holder In lieu of such endorsements).                                         '
 PROOUdSfT              1             '                                                           m?CT Brendan Buchness
                                                                                                                                                       FAX
 Conner Strong & Buckelew                                                                         RM,.ex»: 877 861-3220                                WC.H01:
 Two Liberty Place                                                                                AQDResB: bbuchness@connerstrong.com
 50 S. 16th Street, Suite 3600                                                                                       IMSURER(3) AFFORDING COVERAGE                                   NAlCF       !


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 Philadelphia, PA 19102                                                                           insurer a : Zurich American Insurance Compa
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                                                                                                  INSURER 8!   AGCS Marine Insurance Company                                     22837
 INSURED
                   NFl Interactive Logistics LLC                                                  insurer c : American Zurich Ins. Co.                                           40142           !

                   1515 Burnt Mill Road                                                           INSURER 0:

                    Cherry Hill, NJ 08003                                                         INSURERS:

                                                                                                  INSURER F:

                                                        CERTIFICATE NUMBER:                                                          REVISION NUMBER:
  COVERAGES
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        INDICATED.      NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONOITIONOF ANY CONTRACTOR OTHER
                                                                                         DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS.
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        C                                     YIN
            AMD EMPLOYERS' LIABILITY
                                                 1                                                                                     E.L EACH ACCIDENT                     *1,000,000
            ANY PROPRlETOfUPARTNER/EXECUTIVEl
            OFFICER/MEMBER EXCLUDED?                         ) MM
                                                         1                                                                              E.L DISEASE - EA EMPLOYEE *1,000,000
             (Mandatory In NH)
             If yes. describe under                                                                                                     E.L DISEASE • POLICY LIMIT | $1,000,000
             DESCRIPTION OF OPERATIONS belw
        B    Cargo                                                        MXI93066844                     (02/01/2014 02/01/201 8 Per Trailer: $100,000


                                                                                                              spate Is required)
        DESCRIPT10H OF OPERATIONS /LOCATIONS /VEHICLES (Attach ACGR0 101, Additional R«m<tteSehtdu!«, If mora
        STAPLES, Inc., and Its subsidiaries and affiliates are Included as an Additional Insured on the Automobile
        and General Liability policies, where required by written contract or agreement


                                                                                                                                                                                                             i




        CERTIFICATE HOLDER
                                                                                                    CANCELLATION

                                                                                                      SHOULD ANY OF THE ABOVE DESCRIBED POUCIES BE CANCELLED BEFORE
                             STAPLES, INC., and Its                                                   THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                                       ACCORDANCE WITH THE POLICY PROVISIONS.
                             subsidiaries and affiliates
                             Attn: Roger Will, VP Transp.
                                                                                                     AUTHORIZED REPRESENTATIVE
                             600 Staples Drive
                             Framlngham, MA 01702

                                                                                                                     © 1988-2010 ACORD CORPORATION. All flphta reserved.

         ACORD 26 (2010/05)                    1 of1         The ACORD name and logo are registered marks of ACORD                                                              EXHIBIT
                                                                                                                                                      jpj
                #S11126S3/M1088959
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                                                                                                                                                                   i             7-
           c.


     Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 21 of 40 PageID #: 26
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                                                      AMENDMENT
                                                          TO
                                                MOTOR CARRIER AGREEMENT

                                                                                                    sis of June
       THIS AMENDMENT TO MOTOR CARRIER AGREEMENT (the "Amendment") is made
                                       between NP1 INTERACT IVE LOGISTICS , LLC ("Carrier' ') and Staples,   Inc.
       18, 2014 (the "Effective Date")
       ("Staples"):

                                                                                                May 12, 20 1 1
       WHEREAS, Carrier and Staples are parties to that Motor Carrier Agreement effective as of
       (the "Agreement"), and wish to amend the Agreement as set forth below.

                                                                                                  is hereby
        NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
        acknowledged, the parties hereby agree as follows:

                                                                                                   Agreement
                1.    Term. Section 1 of the Agreement is hereby amended to extend the Term of the
                      through June 18, 2018.

                                                                                             in the Agreement shall
        Unless otherwise modified by this Amendment, all terms and conditions contained
                                                            terms  used herein shall have the meanings assigned to
        continue in full force and effect. All capitalized
        them in the Agreement, unless otherwise defined    herein.


        IN WITNESS WHEREOF, the parties have executed this Amendment as of the Effective Date.

        NFT iNTLHAtijTlVK LCGIST1C.S, LLC                       STAPLES* INC,
                                    •;>

        By:'                        C---                        By:_X£22l
f!      Name:
                                                                Natw^Susan PelJcchio

        Title: j'V                        7-j       Cf          Title: VP, Transportation




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   Case
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           .                                         Document 1-1 Filed 05/05/17 Page 22 of 40 PageID #: 27


Randall W. Graff
Shareholder/Partner


           111 ill
        mcwimAtUiv i
KOPKAPJNKUS OOLINfv
550 Congressional Blvd., Ste. 310
                                  Carmel, IN 46032
T: 317.818.1360 |F: 317.818.1390
Direct: 317,814.4044
Offices in Illinois, Indiana and
                                 Michigan
website | vCard | map } email




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                       Case 2:17-cv-00206-WTL-MPB   Document 1-1 Filed 05/05/17
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                                                                                   US   23 of 40 PageID #: 28
                                              CERTli- . JATE OF LIABILITY                                                                                                         O AVE (mDUfYmj

                THIS  CER  TIFICAT  E IS                                                             INSURANCE
                                         ISSU  ED AS A MAT
                certificate does not affirmatively or neg  TER OF  INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE
                                                                                                                                                     6/26/2014


                                                                                                                         ge CERTIFICATE HOLDER, THls
                below, this cer ate of insurance does no              atively ameno, extend oralter the covera
                Representativetific   or producer, and the certif t constitute a contract between the issu afforded by the policies
                IMPORTANT'. IfThe certificate holiieVis en ASoifiONAica    te holder,-                                     ing insurers authorized
                the terms and conditions ofthe policy, certain policiesL INS URE D, thepoiicyfies) must beentlorsed. ifsUBROGATJON |S WA
                certificate holder in lieu of such end
                                                       orsements).
                                                                        may require an end                                                     IVED, su&jecTto^
                                                                                            orsement. A statement on this certificate does not con
            PRODUCER          '                                                                                                                    fer                                    rights to the
            Conner Strong & Buckelev/                                                                                      JSrendan Buchness            ~                   ——~.


            Two Liberty Place                                                                                                                       II
            50 S. 16th Street, Suite 3600                                                                      .address; touchness@con.tierstrong.
            Philadelphia, PA 1S102
                                                                                                                                                                coni       _
                                                                                                                                        insur€R(s| ftpfprows coverage
                                                                                                           . wsurera: Zurich American insurance Com                                       —j
            INSURED
                          , WFI interactive Logistics LLC                                                      insurers; AGCS Marine insurance Com                     pa                      10535. .

                                                                                                               wsuREfic: American Zurich Ins,      pany                                     .{22837 '
                         : .1615 Burnt Mill Road                                                                                              Co.                                     "        40142
                             Cherry Hllf, NJ 08003                                                             IMUREKQt

                                                                                                               [INSURERS;
                                                                                                               :.WauREftPti-
            covfrages                                                                                                           . . .

        I""tuiq'K T'D CERTIFY THAT THE - CERTIFICATE NUMRP^ --                                             u
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            A         AUTOMOBILE LIABILITY                                                                                                                                        i
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                       COMPENSATIO             N"                                        WC5916239G8
                  AND EMPLOYERS' LIABILITY
                                                             Y/H
                . ffl&wamERfr
                              S«CUW£|-—j
                                                                       N/A                                                                          E.L. EACH ACCIDENT           $1,000,000
                  (HaridiTo  'rj'IhNH)
                                                                                                                                                    6.L. DISEASE -EA EMPLOYEE $1,0
                                                                                                                                                                                   00,000
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            B     Cargo                                                                  MXI93055844                  Io2/O1/2014 02/01/2016 Per Trailer: OYy WTbiOOoim
                                                                                                                                                         $100,000   '


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            CERtlfrcAte.HOi.D6R
                                                                                                               CANCELLATION                                                                rr



                                  STAPLES, INC., and Its                                                  . - SHOULD ANY OF THE ABOVE DES
                                                                                                                                          CRIBED POUCfES BECA'HCELLED bef
                                  subsidiaries arid affiliates                                                THE EXPIRATION DATE THEREO                                  ore
                                                                                                              ACCORDANCE WITH THE POL F, NOTICE WW. B£ DELIVERED IN
                                  Attn: Roger Will, VP                                                                                  tCY PROVISIONS,
                                                       Transp.
                                  500 Staples Drive                                                        ,[AUTHORIZED REPRESENTATIVE
                                  Framlrigham, MA 01702
                                                                                                               m/.
                                                                                                                                    ©1S88>201Q ACORD CORPOR
            ACORD 25 {2010/05)                  1 of 1       the ACORD name and logo are registered mar
                                                                                                                                                            ATION, All rights reserved.
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                                                                                                                        ks of ACORD                              JPJ
      Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 24 of 40 PageID #: 29




€1
            material change in coverage or deductible amounts.        All Required Insurance shall (i) provide primary
            coverage for liability assumed by Carrier under this Agreement and not call upon any other insurance
            procured by other parties for defense, payment or contribution, and (ii) be provided on an occurrence
            rather than a claims made basis, If any Required Insurance is available only on a claims-made basis, then
            the dates of coverage (including the retroactive date) and the time period within which any claim can be
            filed shall continue during the Term and for a period of 3 years thereafter and shall be staled on the
            Insurance Certificate, and Carrier shall not permit any gaps in coverage to occur. All Required Insurance
            shall be carried with responsible insurance companies of recognized standing which are authorized to do
            business in the state in which the services are rendered and arc rated A VTII or better by A.M. Best. If
            Carrier fails to procure or maintain the Required Insurance, Staples shall have the right, but not the
            obligation, to effect such insurance at Carrier's reasonable expense with notice to Carrier.       Without
            limiting the foregoing, Carrier shall indemnify and hold harmless Staples against all liability and loss in
            connection with Carrier's failure to comply with the provisions of this Section. The Required Insurance,
            however, in no manner relieves or releases Carrier, its agents, subcontractors, and invitees from, or limits
            their liability as to, any and all obligations assumed or risks indemnified against in this Agreement. Any
            Insurance Certificate shall state that Staples, Inc. and Its Affiliates are included as additional insureds
            ATIMA (As Their Interests May Appear).

                    A.       General Liability
                             $2,000,000 Bodily Injury and Property Damage per Occurrence

                    B.       Workers' Compensation
                             Workers' Compensation - Statutory
                             Employer's Liability - $2,000,000
                    C.       Automobile Liability
                             $1,000,000 Combined Single Limit Each Occurence (including coverage for
                             environmental restoration of at least $500,000)                                               \
                    D.       Umbrella/Excess
                             $4,000,000 each occurrence excess of underlying
                             $4,000,000 Products/Completed Operations Aggregate Excess of Underlying
                    E.       Motor Truck Cargo
                             $250,000 per shipment                    .

             15.     INDEMNITY.

                      (a)     Carrier Indemnity. Carrier shall defend at its own expense Staples and its directors,
             officers, employees, agents and Affiliates from and against any and all third party claims, demands, suits
             or actions resulting from, arising out of or relating to (i) Carrier's (including its employees and anyone
             acting on its behalf) alleged or actual: (A) negligent acts or omissions, willful misconduct or fraud in
             connection with this Agreement; (B) injury and/or defcth to persons, including without limitation,
             Carrier's employees or agents; (C) damage to or destruction of tangible property or any loss of use
             resulting therefrom; (D) breach of this Agreement; (E) failure to comply with or violation of any
             applicable laws, statutes, regulations, rules and ordinances; and (F) liability, costs and expenses in
             connection with or arising out of Carrier's disposal of equipment parts, liquids and solids, hazardous or
             otherwise, and alleged violation by Carrier of the Comprehensive Environmental Response Compensation
             and Liability Act or any other Federal, State, foreign or local law, regulation or order regarding the
             environment or contamination thereof now in effect or hereinafter enacted; or (ii) any fines, levies or
             Other charges imposed by any government authority or agency resulting from Carrier's acts or omissions
             hereunder. Carrier shall also defend, indemnify and hold Staples harmless with respect to, and take all



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Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 25 of 40 PageID #: 30


   78909/10
   STATE OF INDIANA                       )       VIGO COUNTY SUPERIOR COURT
                                          )SS:
   COUNTY OF VIGO                         )       CAUSE NO: 84D06-1408-CT-6424

   JAMES B. BOGARD,                                  )
                                                     )                       filed
          Plaintiff,                                 )                vidodoUNty superior court
   v.
                                                     )                      SEP 1 8 2014
                                                     )
   STAPLES THE OFFICE SUPERSTORE                     )
   EAST, INC.                                        )
                                                     )
          Defendant.                                 )

               DEFENDANT STAPLES THE OFFICE SUPERSTORE EAST. ING'S
                  ANSWER TO PLAINTIFF'S COMPLAINT FOR DAMAGES


          COMES NOW the Defendant, Staples the Office Superstore East, Inc. ("Staples"), by

   counsel, James H. Milstone and Kopka Pinkus Dolin, PC, and for its Answer to Plaintiff's

   Complaint for Damages states as follows:


          1.      On May 8, 20 1 4, Plaintiff was employed as an over the road commercial truck

   driver and had received a track load of goods from Defendant Staples Distribution Center in

   Terre Haute, Vigo County, Indiana.


   ANSWER: The Defendant lacks information and knowledge sufficient to either admit or

   deny the allegations in this paragraph, and so denies same.


          2,      On May 8, 2014, agents, servants or employees of Defendant negligently and

   carelessly loaded an individual carton and tote on top of a properly packaged and secured pallet

   of Staples goods.


   ANSWER: The Defendant denies the allegations in this paragraph.


          3.      On May 8, 2014, the negligently loaded carton and tote fell from atop the pallet

   striking Plaintiff on the head and shoulders causing Plaintiff to be hurt, injured and impaired all
                                                                                                         .   •




   to his detriment and damage.
        Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 26 of 40 PageID #: 31


                   7.        The sole and proximate cause of the Plaintiffs alleged injuries were the acts and

           omissions of persons or entities other than the Defendant over whom the Defendant had no

           control and for whom they bear no responsibility.

                   8.        That the Plaintiffs claim and injuries were caused by an open and obvious

           danger. This Defendant had no duty toward the Plaintiff, including any duty to warn with respect

           to such an obvious danger.

               .   9.        The Plaintiff may have received or may in the future receive compensation,

           payments, and/or other types of contribution for his alleged injuries and damages. Any award of

           damages assessed against the Defendant should be diminished or reduced by the amount of

           compensation received or to be received by the Plaintiff from other sources.


                    10.       The Defendant reserves the right to add additional Affirmative Defenses as these

            become known through the process of discovery.


i

                    WHEREFORE the Defendant respectfully prays that the Plaintiff take nothing by way of
)

            the Complaint for Damages, for appropriate relief pursuant to the Indiana Comparative Fault
i
            Act, and for all other just and appropriate relief in the premises including costs in this action.




                                               REQUEST FOR JURY TRIAL


                        COMES NOW the Defendant, by counsel, and pursuant to Trial Rule 3S requests that this

            cause be tried by jury.




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    Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 27 of 40 PageID #: 32


        ANSWER: The Defendant denies the allegations m this paragraph.

                4.     That Defendant loaded said carton and tote with callous and utter indifference to

        Plaintiffs health and well being knowing or having reason to know that by doing so someone


        would likely be injured.


[       ANSWER:' The Defendant denies the allegations in this paragraph.

i
                Defendant denies all other allegations contained in Plaintiffs Complaint not

        hereinabove answered more specifically. As to any rhetorical paragraphs not heretofore


        specifically admitted, denied or otherwise controverted, the same are hereby denied at this

        time,


                                         AFFIRMATIVE DEFENSES
i

                Subject to further discovery, Defendant asserts the following affirmative defenses:

                 I.    The Complaint fails to state a claim upon which relief can be based.

                2.     The Plaintiffs claimed injuries may have resulted from Plaintiffs own fault. The

        Defendant asserts its rights to seek judgment in its favor, or a proportional reduction of the

        judgment under the Indiana Comparative Fault Act.

                3.     The Plaintiff may have failed to exercise due care for his own safety.

                4.      The Plaintiff may have failed to mitigate damages.

                 5.     The Plaintiff knowingly and voluntarily assumed and/or incurred the risk of injury

         to himself.

                 6.     The Plaintiffs injuries and damages, if any, were proximately caused, in full or in

         part, by the employer of the Plaintiff, NFI, whom Plaintiff specifically names as a responsible

         non-party. The Defendant requests that the trier of fact consider the fault of such non-party in

         rendering a verdict.




                                                         2
        Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 28 of 40 PageID #: 33


                                    Randall Graff
Sent:                               Tuesday, May 17, 2016 5:16 PM
To:                                 'mike.bianchi@zurichna.conV
                                    'Daniel.Deitch@NFIIndustries.com'
                                     File: 78909 Tender of Defense - Zurich Claim no. 4720106649       Your insured: NFI
                                    Industries, Inc. - Claimant: James B. Bogard
Attachments:                         Staples - Cert of Ins - NFI Industries.pdf; Staples Answer to Pltf's Complaint.pdf; Staples
                                     Answer to Pltf's Complaint.pdf


Importance:                          High




This will confirm our telephone conversation today concerning the tender of defense by Staples, Inc. to NFI Industries,
Inc. for the May 8, 2014 occurrence involving the claimant, James B. Bogard. I am a coverage attorney assisting attorney
April Jay in this matter. Our firm represents "Staples the Office Superstore East, inc." which is an affiliate of Staples, Inc.


In regard to your May 5, 2016 correspondence to Ms. Jay, please note that regardless of whether you think NFI has a
contractual obligation to defend and indemnify Staples, Zurich has an obligation to defend and indemnify its insureds.


Attached is a Certificate of Liability Insurance showing that Staples, Inc. is an Additional insured under the Zurich General
Liability policy, policy no. GL0913955607, and under the Zurich Automobile policy, policy no. CA0647684400.


Since Staples is an Additional Insured, please send us certified copies of both policies {so that we will not need to
contact the Indiana Department of Insurance). As you may know, issues of loading and unloading are often covered
under the auto policy rather than under the GL policy, but we request certified copies of both policies.


And Staples hereby reiterates its tender of defense to Zurich concerning the above-referenced suit.




Also/the Indemnity provision in Section 15 of the Dedicated Transportation Agreement states:


 "Carrier [NFI] shall defend at its own expense Staples ... and its . . . Affiliates from and against any and all third party
 claims, demands, suits or actions resulting from arising out of or relating to
 (i) Carrier's (including its employees . . .) alleged or actual:
 (A) negligent acts or omissions ... in connection with this Agreement;
 (B) injury and or death to persons including without limitation, Carrier's employees or agents . . .          [Emphasis added.]




 The Affirmative Defenses in the attached Answer allege comparative negligence by the NFI employee and claimant,
 James Bogard. The Indemnity provision in Section 15 requires NFI to defend Staples at NFI's expense when there are
 alleged negligent acts and when there is an injury to an NFI employee that arises out of the work that is the subject of
 the Dedicated Transportation Agreement.


 Staples hereby also reiterates its tender of defense to NFI concerning the above-referenced suit.




 Please confirm receipt of this correspondence by reply email.


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    Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 29 of 40 PageID #: 34



                                                         Respectfully Submitted,
                                                                         ;

                                                                                 s
                                                                      *   A.     £

                                                  L-     James Hailstone (#10460-02)
                                                         Attorney for Defendant Staples the Office
                                                         Superstore East, Inc.


         • KOPKA PINKUS DOLIN, PC
           P, 0. Box 40389
     .    Indianapolis, IN 46240
          Ph;    317-818=1360
          Fx:    317-818-1390
          Email: JHMilstone@konkalaw.com



                                                 Certificate of Service
                                     '3
                 I certify that on                it) , 20 1 4, service of a true and complete copy of this
          document was made upon die following attorney of record by depositing same in the U.S. Mail
          with sufficient first-class postage affixed:

          Keith L. Johnson
          Johnson Law Office
          333 Walnut Street
          P.O. Box 3453
          Terre Haute, IN 47803


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Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 30 of 40 PageID #: 35

  Broadspire*
  A. CRAWp.ORD COMPANY-
  PO Box 14343
  Lexington, KY 40512-4343

  Phone: (631)232-8245
  Fax: (770) 777-6404


  Via email Daniel.Deitch@NFIindustries.com
  January 25, 2017

  NFI Industries                                                  Claim#: 187593911-001
  Daniel Deitch                                                   Date of Loss: 5/8/2014
   1515 Burnt Mill Road
                                                                  Insured: Staples, Inc.
  Cherry Hill N.J. 08003




   RE:     Claimant:          James Bogard
           Our Client:        Staples, Inc. - Takeover (In-Ace)
            Policy No.:        JSAH08818897


   Dear Mr. Deilch:


   Our office represents ACE AMERICAN INSURANCE COMPANY, which insures STAPLES, INC. under a
   policy of insurance coverage applicable to the captioned date of loss.

   1 am following up on your letter of October 15,2015 to Staples defense attorney April Jay.
                                                                                                                            ;


   I am renewing Staples request to have NFI take over the defense and indemnification of Staples as per
   the section 1 5 a of the contract between Staples and NFI


   The indemnification clause in the agreement provides that the carrier, or NFI:


            (a)         Carrier Indemnity. Carrier shall defend at its own expense Staples and its directors,
            officers, employees, agents and Affiliates from and against any and all third party claims,                         i-
            demands, suits or actions resulting from, arising out of or relating to (i) Carrier's (including its
             employees and anyone acting on its behalf) alleged or actual: (A) negligent acts or omissions,
             willful misconduct or fraud in connection with this Agreement; (B) injury and/or death to
             persons, including without limitation, Carrier's employees or agents; (C) damage to or
             destruction of tangible property or any loss of use resulting therefrom; (D) breach of this
             Agreement; (E) failure to comply with or violation of any applicable laws, statues, regulations,
             rules and ordinances; and (F) liability, costs and expenses in connection with or arising out of
             Carrier's disposal of equipment parts, liquids and solids, hazardous or otherwise, and alleged
             violation by Carrier of the Comprehensive Environmental Response Compensation and Liability
             Act or any other Federal, State, foreign or local law, regulation or order regarding the
                                                                                                                                i
             environment or contamination thereof now in effect or hereinafter enacted; or (ii) any fines,
             levies or other charges imposed by any government authority or agency resulting from Carrier's
             sets or omissions hereunder, Carrier shall also defend, indemnify and hold Staples harmless with
             respect to, and take all reasonable action to prevent and enjoin, all labor disputes, strikes and
              pickets brought about by employees or subcontractors of Carrier and arising out of Carrier's
              business or operations on or about or directed against the business, operations and/or premises
              of Staples.


                                                                                                    EXHIBIT
                                                                                                             ff
                                                                                            I

                                                                                                      *
                                                                                           Notice of Involvemenl Lettr-VA
     Rev. 7/12/09
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 31 of 40 PageID #: 36
  that NFI is'fequtfid under the contract to defend Staples in this lawsuit as one of its employees brought
  suit against Staples alleging injury per (a)(i)(A) (negligent acts of Plaintiff] and (D) (breach of this
  Agreement] of the Agreement by virtue of its breach of §7 of the Agreement [load security].


  The agreement also requires NFI to name Staples as an additional insured. See §14 of the Agreement.
  We will reach out to NFI and inquire whether it named Staples as an additional insured.


   I attach a copy of the contract and Certificate of Insurance naming Staples as an additional insured
   under the NFI policy.


   It is our contention that the injuries to James Bogard were the result of his driving the involved vehicle
   in route from the distribution center to its destination and his actions caused the load to shift.



   Sincerely,
   Broadspire Services, Inc. on behalf of:
   Ace American Insurance Company



   Robert E Nowlin
   Senior Claim Examiner
   (631) 232-8245



   Cc Michael Bianchi
       Dallas Transportation Tea m
       Zurich North America Claims
       Liability Claims-South Central Region
       P.O. Box 968072
       Schaumburg, It 60196-8072
       Phone (214) 866-1564
       Fax (866) 689-8972
    mike.bianchiPzurichna.com                                                                                           i


   Cc: Kopka Pinkus Dolin                                                                                               j


       James Milstone
       550 Congressional Blvd.
        Carmel In. 456032
       jhmiistone@kopkalaw.com
                                                                                                                        5




                                                                                                                            ;
                                                                                                                            :




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    Rev. 7/12/09                                                                       Notice of Involvement Leltr-VA
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 32 of 40 PageID #: 37




   STATE OF INDIANA                                               )                   VIGO CIRCUIT/SUPERIOR COURT
                                                                  ) SS:
   COUNTY OF VIGO                                                 )                   CAUSE NO: 84PQ3-i7Q3.PL                                       2 4?$



   STAPLES THE OFFICE SUPERSTORE                                              )
   EAST, INC.,                                                                )
                                                                              )                           VIGO COUNTY SUPERIOR COURT
               Plaintiff,                                                     )
   vs.                                                                        )                                      MAR 3' 1 2017
                                                                              )
   ZURICH AMERICAN INSURANCE                                                  )
   COMPANY and JAMES B. BOGARD                                                )
                                                                              )
               Defendants.                                                    )


                                                                      SUMMONS


   TO DEFENDANT:                                Zurich American Insurance Company
                                                 1299 Zurich Way
                                                Schaumburg, IL 60173-5870



         You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated above.
         The nature of the suit against you is stated in the complaint which is attached to this Summons. It also states the relief sought or the
   demand made against you by the plaintiff.


         An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within twenty (20)
   days, commencing the day after you receive this Summons, (or twenty-three (23) days if this Summons was received by mail), or a
  judgment by default may be rendered against you for the relief demanded by plaintiff.

         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in your written
   answer.




   Dated:                        2017
                                                                                  (Seal)
                                                                                              Clerk, Vigo County
                          (The following manner of service of summons is hereby designated.)

 XX       Registered or certified mail.

  xx      Service at place of employment, to wit: Zurich American Insurance Co., Schaumburg, IL

          Service on individual (Personal) at above address.

                                                                                               Vigo Superior Court Division 3
          Service on agent. (Service on Registered agent)
                                                                                               3,d Floor 812-462-3241
                                                                                               33 South Third Street
          Other Service. (Specify)
                                                                                               Terre Haute, Indiana 47807
   Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 33 of 40 PageID #: 38




Randall W.Graff                                              Courtroom Address:
Attorney for Plaintiff                                       Vigo County Circuit/Superior Court
KOPKA PINKUS DOLIN PC                                        33 South Third Street
550 Congressional Blvd., Ste. 310                            Courthouse, 1st Floor
Carmel, IN 46032                                             Terre Haute, IN 47807
Tel: 317-818-1360                                            Telephone: (812) 232-3375 (Clerk's Office)
Fax: 317-818-1390




                                    CLERK'S CERTIFICATE OF MAILING
       I hereby certify that on the        day of April, 2017, 1 mailed a copy of this Summons and a copy of the
       complaint to the defendant Zurich American Insurance Company, by certified mail, requesting a
       return receipt, at the address furnished by the plaintiff.



                                                                         Clerk, Vigo County



       Dated:                            , 2017                          By:
                                                                                     Deputy


                            RETURN ON SERVICE OF SUMMONS BY MAIL
               I hereby certify that the attached return receipt was received by me showing that the Summons
       and a copy of the complaint mailed to defendant,                                                     was

       accepted by the defendant on the           day of                          ,2017.
           I hereby certify that the attached return receipt was received by me showing that the Summons and a
       copy of the complaint were returned not accepted on the          day of                            2017.

           I hereby certify that the attached return receipt was received by me showing that the Summons and a
       copy of the complaint mailed to defendant                                                              was

       accepted by                                                                    on  behalf of said defendant
       on the            day of                    , 2017.




                                                                         Clerk, Vigo County


                                                                                              By:


                                                                            Deputy
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 34 of 40 PageID #: 39




                                IN THE VIGO COUNTY SUPERIOR COURT 3/K30 COUNTY SUPERIOR COURT


                                             STATE OF INDIANA                         APR 2 0 2017

  STAPLES THE OFFICE SUPERSTORE                       )                                               | aw0"-3
  EAST, INC.
                                                      )                                 CLERK
                                                      )
                               Plaintiff,             )   CAUSE NO.:   84D03-1703-PL-002478
                                                     )
            v.
                                                     )
                                                     )
  ZURICH AMERICAN INSURANCE                          )
  COMPANY and JAMES B. BOGARD,                       )
                                                     )
                               Defendants.           )



                               APPEARANCE BY ATTORNEY IN CIVIL CASE


  Party Classification: Initiating            Responding V     Intervening

  1.      The undersigned attorney and all attorneys listed on this form now appear in this case for
  the following party member(s):
                                       Zurich American Insurance Company


  2.     Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
  information as required by Trial Rules 3.1 and 77(B) is as follows:


           John C. Trimble                                        Attorney No. #1791-49
           Meghan R. Ruesch                                       Attorney No. #32473-49
           LEWIS WAGNER, LLP                                      Phone: (317) 237-0500
           501 Indiana Avenue, Suite 200                          FAX:     (317) 630-2790
           Indianapolis, IN 46202


 3.        There are other party members: Yes             No    (Ifyes, list on continuation page.)

 4.      Iffirst initiating partyfiling this case, the Clerk is requested to assign the case the
  following Case Type under Administrative Rule 8(b)(3):


  5.       I will accept service by fax at the above noted number: Yes       V No

 This attorney would represent to the court that he feels fax service is unnecessary and
 burdensome under normal circumstances. However, fax service is acceptable in emergency
 situations.




  {0008700/0594/01081744 v)}
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 35 of 40 PageID #: 40




                          APPEARANCE FORMAT -- CONTINUATION PAGE
                                 (Civil Case for Use by Attorney)




  6.        This case involves support issues. Yes      No     V   (Ifyes, supply social security
  numbers for all family members on continuation page.)


  7.        There are related cases: Yes     No      V (Ifyes, list on continuation page.)

  8.        This form has been served on all other parties. Certificate of Service is attached. Yes
  V    No

  9.        Additional information required by local rule: _


  Case Number:             84D03-1703-PL-002378Z


  First Listed Party Member:      Zurich American Insurance Company


  Continuation of Item 3 (Other party members not represented by this attorney):


                                             James B. Bogard


                                           LEWIS W.          ;r3 LLP



                                           By:
                                                  jo:   f{TRIMBLE, #1791-49
                                                  MEdrHAN E. RUESCH, #32473-49
                                                  Coined'for Defendant Zurich American
                                                  Insurance Company




  (0008700/0594/01081744 vt}
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                                    CERTIFICATE OF SERVICE


           This is to certify that I have served a copy of the foregoing upon all counsel of record, as
  follows, by first class U.S. mail, postage prepaid, on this 18th day of April, 2017:


  Randall W. Graff
  KOPKA PINKUS DOLIN PC
  550 Congressional Blvd.
  Suite 310
  Carmel, IN 46032
  Attorneyfor Plaintiff




                                                  JOHN (^/TRIMBLE

  LEWIS WAGNER, LLP
  Suite 200
  501 Indiana Avenue
  Indianapolis, IN 46202
  Telephone:        317-237-0500
  Facsimile:        317-630-2790
 jtrimble@lewiswagner.com




  {0008700/0594/01081744 vl)
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                                IN THE VIGO COUNTY SUPERIOR COURT 3                    VK30 COUNTY SUPERIOR COURT

                                             STATE OF INDIANA                                 APR 2 0 2017

  STAPLES THE OFFICE SUPERSTORE                      )
  EAST, INC.,                                        )                                          CI
                                                     )
                               Plaintiff,            )   CAUSE NO.:     84D03-1703-PL-002478
                                                     )
           v.                                        )
                                                     )
  ZURICH AMERICAN INSURANCE                          )
  COMPANY and JAMES B. BOGARD,                       )
                                                     )
                               Defendants.           )


                                 MOTION FOR ENLARGEMENT OF TIME


           Comes now the Defendant Zurich American Insurance Company, by counsel, and moves


  the Court for an enlargement of time of thirty (30) days in which to answer or otherwise respond


  to Plaintiffs Complaint, up to and including, and in support thereof would show the Court as


  follows:


           1.        That a response is due on or about April 30, 2017, and said time has not expired.


           2.        That no prior enlargements of time have been requested.


           3.        That said additional time is necessary to enable counsel to confer with his client,


  to review the facts and prepare an appropriate response.




  {0008700/0594/01081752 vl}
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 38 of 40 PageID #: 43



           WHEREFORE, Defendant Zurich American Insurance Company prays for an additional


 thirty (30) days in which to answer or otherwise respond to Plaintiffs Complaint, through and


 including May 30, 2017, and for all other just and proper relief in the premises.



                                          LEWIS WARNER, LUU



                                          By:
                                                 JOHN 6. /TRIMBLE, #1791-49
                                                              ;

                                                 MEGH             E. RUESCH, #32473-49
                                                 Coupon for Defendant Zurich American
                                                 Insurance Company




                                    CERTIFICATE OF SERVICE


           This is to certify that I have served a copy of the foregoing upon all counsel of record, as
 follows, by first class U.S. mail, postage prepaid, on this 18th day of April, 2017:


 Randall W. Graff
 KOPKA PINKUS DOLIN PC
  550 Congressional Blvd.
  Suite 3 1 0
  Carmel, IN 46032
 Attorneyfor Plaintiff


                                                                              »
                                                                  I2/H2351£



                                                  jo:        C. T/klMBLE
                                                        l!

  LEWIS WAGNER, LLP
  Suite 200
  501 Indiana Avenue
  Indianapolis, IN 46202
  Telephone:         317-237-0500
  Facsimile:         317-630-2790
  itrimble@lewiswagner.com




  {0008700/0594/01081752 vl }
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                                  IN THE VIGO COUNTY SUPERIOR COURT 3

                                               STATE OF INDIANA


    STAPLES THE OFFICE SUPERSTORE                    )
    EAST, INC.,                                      )
                                                     )
                                 Plaintiff,          ) CAUSE NO.:   84D03-1703-PL-002478
                                                     )
            v.                                       )
                                                     )
    ZURICH AMERICAN INSURANCE                        )
    COMPANY and JAMES B. BOGARD,                     )
                                                     )
                                 Defendants.         )


                                                   ORDER


             This matter came before the Court on the Motion for Enlargement of Time in which to

    respond to Plaintiff Complaint filed herein by Zurich American Insurance Company.

             And the Court, being duly advised, now grants said Motion.


             IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Zurich American

    Insurance Comopany is granted a period of time through and including May 30, 2017, in which

    to answer or otherwise respond to Plaintiff s Cp/nplamt




                                                    JUDGE, VIGO SUPERIOR COURT




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                                                                     £                  v



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    {0008700/0594/01081752 vl)
                                                                                   eg
                                                                                     &
                                                                                   PD
Case 2:17-cv-00206-WTL-MPB Document 1-1 Filed 05/05/17 Page 40 of 40 PageID #: 45




      DISTRIBUTION TO:


  '   John C. Trimble/Meghan R. Ruesch
      LEWIS WAGNER, LLP
      501 Indiana Avenue, Suite 200
      Indianapolis, IN 46202

      Randall W. Graff
      KOPKA PINKUS DOLIN PC
      550 Congressional Blvd.
      Suite 310
      Carmel, IN 46032




      {0008700/0594/01081752 vl)
